   Case 3:17-cv-00072-NKM-JCH Document 151 Filed 12/11/17 Page 1 of 1 Pageid#: 675
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    c/oRobertCahill,CooleyLLP 11951Freedom Drive                                                    c/oAndrew A nglin 6227N .High St.,Ste121



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                                       .You mustcomply withtheapptopriaterequirem entslistedonthebackofthisform .

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g Verificationofthedateoffilingofthecertificateofcompliancerequestedintheself-addressedstampedenvelopeprovided.
NOTICE TO THE RECIPIENT from theOfficeoftheSecretary oftheCom monwealthofV irginia:
        You arebeingservedwiththisnoticeandattachedpleadingsunderSection8.01-329oftheCodeofVirginiawhichdesignates
       theSecretaryoftheComm onw ealth asstatutoryagentforServiceofProcess.TheSecretaryoftheCèmm onwealth'sONLY
        responsibility isto mail,by certified m ail,return receiptrequested,the enclosed papersto you.Ifyou have'any questions
        concerningthese documents,you m ay wish to seek advice from alawyer.
SERVICE OF PROCESS IS EFFECTIVE ON Tlv DA TE THAT TJIE CERTIFICATE 0F COXIPLIAN CE IS FILED W ITH TldE
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                                                  CERTIFICATE O F COM PLIAN CE
1,theundersigned,Clerk ip the Office oftheSecretary oftheCom monwea1th,hereby certify the following:
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